                         Case 23-50322-nmc                  Doc 1       Entered 05/12/23 16:32:07                   Page 1 of 14


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                HUGHES PRIVATE CAPITAL, INC.

2.   All other names debtor
     used in the last 8 years
                                  FDBA HUGHES PRIVATE CAPITAL, LLC
     Include any assumed          DBA HUGHES PRIVATE CAPITAL
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5440 LOUIE LANE
                                  SUITE 106
                                  RENO, NV 89511
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  WASHOE                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 23-50322-nmc                      Doc 1       Entered 05/12/23 16:32:07                       Page 2 of 14
Debtor    HUGHES PRIVATE CAPITAL, INC.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                           Case 23-50322-nmc                        Doc 1          Entered 05/12/23 16:32:07                   Page 3 of 14
Debtor    HUGHES PRIVATE CAPITAL, INC.                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-50322-nmc              Doc 1    Entered 05/12/23 16:32:07                  Page 4 of 14
Debtor   HUGHES PRIVATE CAPITAL, INC.                                             Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                         Case 23-50322-nmc                  Doc 1        Entered 05/12/23 16:32:07                       Page 5 of 14
Debtor    HUGHES PRIVATE CAPITAL, INC.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 12, 2023
                                                  MM / DD / YYYY


                             X   /s/ GREG HUGHES                                                          GREG HUGHES
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   PRESIDENT




18. Signature of attorney    X   /s/ KEVIN A DARBY                                                         Date May 12, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 KEVIN A DARBY 7670
                                 Printed name

                                 DARBY LAW PRACTICE
                                 Firm name

                                 499 W. PLUMB LANE, SUITE 202
                                 Reno, NV 89509
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     775.322.1237                  Email address      kevin@darbylawpractice.com

                                 7670 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                         Case 23-50322-nmc                Doc 1       Entered 05/12/23 16:32:07                  Page 6 of 14
Debtor     HUGHES PRIVATE CAPITAL, INC.                                                     Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                   Chapter      7
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



                                                                                                                     AFFILLIATE 11 U.S.C.
Debtor     GUARDIAN FUND, LLC                                                      Relationship to you               101(2)(D)
District   NEVADA                                     When     3/17/23             Case number, if known             23-50177-NMC
                                                                                                                     AFFILLIATE 11 U.S.C.
Debtor     GUARDIAN FUND, LLC                                                      Relationship to you               101(2)(D)
District   DISTRICT OF NEVADA                         When     4/11/23             Case number, if known             22-50233-NMC




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 6
    Case 23-50322-nmc   Doc 1   Entered 05/12/23 16:32:07   Page 7 of 14



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                 HUGHES PRIVATE CAPITAL, INC.
                 5440 LOUIE LANE
                 SUITE 106
                 RENO, NV 89511

                 KEVIN A DARBY
                 DARBY LAW PRACTICE
                 499 W. PLUMB LANE, SUITE 202
                 Reno, NV 89509

                 AGATHA LEE
                 1448 ALLANMERE
                 SAN RAMON, CA 94582

                 ALICE R. HEIMAN
                 5017 E. ALBUQUERQUE RD.
                 RENO, NV 89511

                 ANDRONICO FAMILY PARTNERHSIP, L.P.
                 C/O RICHARD D. WILLIAMSON, ESQ.
                 ROBERTSON, JOHNSON, MILLER & WILLIAMSON
                 50 W. LIBERTY, SUITE 600
                 RENO, NV 89501

                 BERG TREMAIN PROPERTIES, LLC
                 4525 SE 63RD AVENUE
                 PORTLAND, OR 97206

                 BRADLEY H. & REID JOHNSON
                 6219 S MORAN SRIVE
                 SPOKANE, WA 99223

                 CAMERON CRAIN
                 1026 C P Stewart Blvd. #152
                 Lebanon, TN 37087

                 CHRISTINE HAGOPIAN
                 1247 VIOLA AVE #9
                 GLENDALE, CA 91202

                 CLEMENT AND MARIAN SKIRPAN
                 112 DIVISION AVENUE
                 APT 1
                 Garfield, NJ 07026

                 COREY FOX
                 204 HOLLYOAH COURT
                 RENO, NV 89521

                 CORRIN THOMPSON KECK
                 1549 DELUCCI LANE, UNIT G
                 RENO, NV 89502
Case 23-50322-nmc   Doc 1   Entered 05/12/23 16:32:07   Page 8 of 14




             CRAIG AUSLAND
             603 FIRST ST.
             SUMAS, WA 98295

             CRAIG M. AND KAY A. BRACH
             1039 DOUGLAS AVE.
             AURORA, IL 60505

             DAVID F. AND BARBARA W. BROWN
             1039 DOUGLAS AVE
             MIDDLETON, NY 10940

             DONALD R. GIBSON
             1021 ROCKY BRANCH RD.
             GREENSBORO, GA 30642

             DYLAN TYBURSKI
             603 SAN ANZA
             SAN ANTONIO, TX 78260

             EDMONDSON FAMILY TRUST
             245 BONNIE BRIAR PLACE
             RENO, NV 89509

             EQUITY TRUST COMPANY CUSTODIAN
             FBO CHRISTINE HAGOPIAN, IRA
             1247 VIOLA AVE #9
             GLENDALE, CA 91202

             ERIC AND SARAH ANN YAMAGUCHI TRUST
             412 OLIVE AVE #502
             HUNINGTON BEACH, CA 92648

             ERIC KUROWSKI
             588 MARSH AVE.
             RENO, NV 89509

             F&J PROPERTIES, LLC
             170 PEARL LANE
             WILLISTON, SC 29853

             FORGE TRUST CO
             CFBO DONALD DAVIS IRA
             401 E. 8TH STREET, SUITE 222
             Sioux Falls, SD 57103

             FORGE TRUST CO.
             CFBO MARIA YVONNE MORALEZ IRA713560
             401 E 8TH STREET, SUITE 222
             SIOUX FALLS, SD 57103

             FORGE TRUST CO.
             CFBO RODOLFO MORALEZ IRA713640
             401 E 8TH STREET, SUITE 222
             SIOUX FALLS, SD 57103
Case 23-50322-nmc   Doc 1   Entered 05/12/23 16:32:07   Page 9 of 14




             FORGE TRUST CO. CFBO MARIA YVONEE MORALE
             PO BOX 6850
             San Mateo, CA 94403

             FORGE TRYST CO. CFBO RODOLFO MORALEZ
             PO BOX 6851
             San Mateo, CA 94403

             GREEN VALLEY ASSOCIATES, LLC
             9010 GUE ROAD
             DAMASCUS, MD 20872

             GUARDIAN FUND, LLC
             C/O STEPHEN R. HARRIS, ESQ.
             850 E. PATRIOT BLVD.
             SUITE F
             RENO, NV 89511

             HARRY JONES
             PO BOX 97
             Stratton, CO 80836

             HORIZON TRUST FBO DONALD GIBSON IRA
             1021 ROCKY BRANCH ROAD
             GREENSBORO, GA 30642

             J.K INVESTMENTS,LLC
             100 CREEKSIDE TRAIL
             SPICEWOOD, TX 78669

             JACQUELINE BARBOZA
             1358 SHADY KNOLL CT
             LONGWOOD, FL 32750

             JACQUELINE G. AND DONALD A. HANDLIN
             15623 FAWN LANE
             RENO, NV 89511

             JAMES D. AND G. KAREN SCHINDLER
             12844 ST PAUL CT
             THORNTON, CO 80241

             JAMES OR EVA SIXBERRY
             5151 MILAGRO COURT
             SPARKS, NV 89436

             JESSE MOORE
             12933 BIRCH DRIVE
             THORNTON, CO 80241

             JESUSA SERVIDA-GOROSPE & BERNARD GOROSPE
             22623 CASS AVE
             WOODLAND HILLS, CA 91364
Case 23-50322-nmc   Doc 1   Entered 05/12/23 16:32:07   Page 10 of 14




              JOHN AND LINDA COYLE
              1928 10TH ST
              SOUTH LAKE TAHOE, CA 96150

              JOHN W. TERVEER, TRUSTEE
              JOHN W. TERVEER LIVING TRUST
              1379 BUZZYS RANCH ROAD
              CARSON CITY, NV 89701

              KATHY RODIN CADY &
              DAVID RICHARD MATTSON LIVING TRUST
              6015 WEST 119TH ST, APT 2319
              LEAWOOD, KS 66209

              KEVIN AND KELLY CALLAHAN
              1901 WATT STREET
              Reno, NV 89509

              KEVIN TYBURSKI
              4606 AMESBURY DR. #103
              DALLAS, TX 75206

              LAURA MARIE AND JASON ROBERT CETINA
              2920 252ND AVE SE
              SAMMANISH, WA 98075

              LENORE GILBERT
              1001 SE 15TH ST. UNIT 90
              Bend, OR 97702

              LYN ERICKSON MCPHAIL & JOHN R. MCPHAIL
              10 TAYLOR STREET
              Braintree, MA 02184

              MARIA MORALEZ
              14101 MADRIGAL DR.
              Woodbridge, VA 22194

              MARIN AND ALEX VOGT
              1850 PUTNAM DRIVE
              RENO, NV 89503

              MARK & SUSAN KENNEDY
              5840 SPRING VALLEY RD, SUITE 1703
              BEN WHEELER, TX 75754

              MICHAEL & DORIS RODRIGUEZ
              4375 W ANDERSON ROAD
              CLEVELAND, OH 44121

              MICHAEL P. DELANEY
              8701 TALON COURT
              MCKINNEY, TX 75072
Case 23-50322-nmc   Doc 1   Entered 05/12/23 16:32:07   Page 11 of 14




              PEGGY ANN BILELLO
              3021 SPRINGFIELD DRIVE
              HOUMA, LA 70360

              PRIM LYNN WALTERS
              2631 WASHOE BELLE ST
              SPARKS, NV 89436

              QUEST TRUST COMPANY
              FBO CAMERON CRAIN IRA #4295711
              17171 PARK ROW, SUITE 100
              HOUSTON, TX 77084

              QUEST TRUST COMPANY
              FBO PEGGY ANN BILELLO #4428711
              17171 PARK ROW, SUITE 100
              HOUSTON, TX 77084

              QUEST TRUST COMPANY
              FBO DARA GRIEGER IRA #2896611
              17171 PARK ROW, SUITE 100
              HOUSTON, TX 77084

              QUEST TRUST COMPANY
              FBO LENORE GILBERT IRA
              17171 PARK ROW, SUITE 100
              HOUSTON, TX 77084

              RENEE D. ANDERSON
              11251 FOREST HILLS DR
              PARKER, CO 80138

              RONALD DEAN THOMAS
              845 ANDERSON COUNTY ROAD 2909
              PALESTINE, TX 75803

              SAM AND CAROL SMITH
              39513 NE 21ST AVE
              WOODLAND, WA 98674

              SEAN FULLER
              2530 FLATIRON ROAD
              RENO, NV 89521

              SEATRIS LIVING TRUST DATED 08/28/2013
              831 CASMALIA WAY
              SACRAMENTO, CA 95864

              SHANE QUINN
              3159 E CHIP SMITH WAY
              ONTARIO, CA 91762

              SHARON M. ALLEN
              160 CEDAR HOLLOW
              FORT MILL, SC 29715
Case 23-50322-nmc   Doc 1   Entered 05/12/23 16:32:07   Page 12 of 14




              SIERRA RUBY, LLC
              20690 EATON ROAD
              RENO, NV 89521

              SILVER STATE STAR TRUST
              823 N 2850 W
              HURRICANE, UT 84737

              SLATTENGREN FAMILY TRUST
              2485 CHIPMUNK DRIVE
              WASHOE VALLEY, NV 89704

              SPECIALIZED TRUST COMPANY CUSTODIAN
              FBO HARRISON JONES, IRA 103-409
              6100 INDIAN SCHOOL ROAD NE SUITE 215
              ANGEL FIRE, NM 87710

              SUSAN J. TAYLOR. TRUSTEE
              SUSAN J. TAYLOR REVOCABLE LIVING TRUST
              32025 SW VILLAGE CREST LANE
              Wilsonville, OR 97070

              TERRY AND DOLLY ALEXANDER
              824 GLEN MOLLY DR.
              SPARKS, NV 89434

              THE CLARY FAMILY TRUST
              1602 CIRCLE DRIVE
              RENO, NV 89509

              THE JOHN MICHAEL LANTZ II LIVING TRUST
              7003 OLD LANDING DRIVE
              HANAHAN, SC 29410

              THE JOHN OHM AND MARY LOU WALKER LIVING
              PO BOX 11962
              RENO, NV 89510

              THE SQUIRES FAMILY TRUST
              10942 W HAMPDEN PLACE
              DENVER, CO 80227

              THOMAS M. QUINN
              3423 W. 228TH STREET
              TORRANCE, CA 90505

              TORI SANDOVAL
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              RENO, NV 89521

              TRACEE ONDRACEK
              257 SW CHERRY PARK ROAD
              TROUTDALE, OR 97060
Case 23-50322-nmc   Doc 1   Entered 05/12/23 16:32:07   Page 13 of 14




              WALTER DUVALL
              100 E. PASSAIC AVE C-3
              NUTLEY, NJ 07110

              WARM, LLC
              221 MIDVALE STREET
              FARNHAM, VA 22460

              WELLSPRING BIBLE CHURCH
              10720 W. 63RD AVE.
              ARVADA, CO 80004

              WES FRIESEN
              THE WES FRIESEN FAMILY TRUST
              20 COLOMBARD WAY
              Reno, NV 89512

              WETMORE FAMILY TRUST
              855 ARROWHEAD DRIVE
              GARDNERVILLE, NV 89460
                Case 23-50322-nmc            Doc 1     Entered 05/12/23 16:32:07            Page 14 of 14




                                          United States Bankruptcy Court
                                                     District of Nevada
 In re   HUGHES PRIVATE CAPITAL, INC.                                                  Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for HUGHES PRIVATE CAPITAL, INC. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 12, 2023                                     /s/ KEVIN A DARBY
Date                                             KEVIN A DARBY 7670
                                                 Signature of Attorney or Litigant
                                                 Counsel for HUGHES PRIVATE CAPITAL, INC.
                                                 DARBY LAW PRACTICE
                                                 499 W. PLUMB LANE, SUITE 202
                                                 Reno, NV 89509
                                                 775.322.1237 Fax:775.996.7290
                                                 kevin@darbylawpractice.com
